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1                                  IN THE UNITED STATES DISTRICT COURT
2

3                            FOR THE SOUTHERN DISTRICT OF NEW YORK

4    D. G. SWEIGERT                                     Case No.: 1:23-cv-05875-JGK
5                     Plaintiff,
6
     vs.                                                Case No.: 1:23-cv-06881-JGK
7
     JASON GOODMAN, ET AL.,
8                                                       CERTIFICATE OF SERVICE
                      Defendants
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13         1. It is hereby certified that Defendant Pro Se, Jason Goodman, served Plaintiff with a copy

14            of the Motion for Reconsideration or to Alter or Amend Judgement via USPS.
15
                      D. G. SWEIGERT, C/O
16                    PMB 13339, 514 Americas Way,
17                    Box Elder, SD 57719
18

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21                                                                 Signed this 23rd day of October 2023
22                                                                              Respectfully submitted,
23
                                        ____________________________________________________
24                                                              Jason Goodman, Defendant, Pro Se
                                                                           252 7th Avenue Apt 6s
25                                                                          New York, NY 10001
26
                                                                                  (347) 380-6998
                                                                    truth@crowdsourcethetruth.org
27

28
     CERTIFICATE OF SERVICE - 1
